            Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 1 of 6



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                       Case No. 2:18-cv-01135-AJS
                       Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                       Defendant.

            PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT, MOTION FOR
                CLASS CERTIFICATION, AND MOTION FOR LEAVE TO
                         CONDUCT LIMITED DISCOVERY
       Plaintiff Wendell H. Stone Company, Inc. d/b/a Stone & Company (“Plaintiff” or

“Stone”), individually and on behalf of a class of similarly-situated individuals, moves the Court

for an Order entering default judgment against Defendant PC Shield, Inc. (“Defendant” or “PC

Shield”), certifying the proposed Class of similarly situated individuals, and granting leave to

conduct limited discovery. In support of its motion, Plaintiff states as follows:

       1.      On August 27, 2018, Plaintiff bought this class action lawsuit pursuant to of the

Telephone Consumer Protection Act, as amended by the Junk Fax Prevention Act of 2005, 47

U.S.C. § 227, et seq. (“JFPA” or Act”)—challenging Defendant’s practice of sending unsolicited

fax advertisements.

       2.      On September 22, 2018, Plaintiff served a copy of the Complaint and Summons

on Defendant’s agent for service of process, Brandie M. Jordan (aka Brandie M. Law), which

placed Defendant’s deadline to respond to Plaintiff’s complaint on October 15, 2018. (See Dkt.

6.)



                                                                                                   1
            Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 2 of 6



       3.      To date, Defendant has neither responded to Plaintiff’s complaint nor has it

reached out to Plaintiff’s counsel.

       4.      Accordingly, on October 30, 2018, the Clerk of Court, pursuant to Rule 55(a),

entered default against Defendant. (See Dkt. 8.)

                                          Default Judgment

       5.      The Court should enter default judgment against Defendant because all of the

following prerequisites are met: (1) the Chamberlain factors weigh in favor of default; (2) the

Court properly possesses jurisdiction to render judgment; (3) Plaintiff sufficiently stated a claim

for relief; and (4) damages are reasonable and ascertainable.

       6.      Absent an entry of default judgment, Plaintiff and the Class would suffer

substantial prejudice and would be left with no recourse against Defendant’s unlawful actions.

Further, because Defendant has not responded to Plaintiff’s complaint, there are no defenses for

the Court to consider. Finally, Defendant’s failure to respond was the result of culpable conduct

because it was timely served, had sufficient opportunity to respond, and subsequently chose to

ignore its obligation to defend itself altogether.

       7.      This Court also has jurisdiction over both the subject matter of the case as well as

personal jurisdiction over the Defendant. This Court possesses subject matter jurisdiction under

both 28 U.S.C. § 1331 and 28 U.S.C. § 1332(d)(1) as this case arises under the JFPA, a federal

statute, and because the alleged class consists of over 100 individuals, is minimally diverse, and

over $5 million is in controversy. Additionally, the Court has personal jurisdiction over the

Defendant because Defendant knowingly targeted its actions towards the State of Pennsylvania

and was properly served by Plaintiff.




                                                                                                      2
             Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 3 of 6



       8.       Plaintiff has sufficiently stated a plausible claim for relief. That is, Plaintiff

alleged that Defendant has sent unsolicited fax advertisements to Plaintiff and the Class. (See

“PC Shield Fax,” a copy of which is attached as Ex. A to Plaintiff’s memorandum in support of

the instant motion.) Further, Plaintiff alleged that the faxes were sent without the recipients’

consent and that none of the exceptions to the JFPA apply.

       9.       Finally, Plaintiff requests the minimum statutory damages of $500 per fax sent to

the Class. Plaintiff is not currently able to specify the exact total damages owed to the Class at

this time and, therefore, seeks leave to conduct limited discovery related to damages.

                                          Class Certification

       10.      The Court should also find that the requirements of Rule 23 are met and certify

the Class.

       11.      The proposed Class meets the requirements of Rule 23(a):

                a. The Class is so numerous that joinder of all members is impractical;

                b. There are questions of law and fact common to the class;

                c. Plaintiff’s claims are typical of the Class’s; and

                d. Both Plaintiff and its counsel have no interests adverse to the Class and are

                    adequate representatives.

       12.      Next, the Court should find that Defendant has acted or refused to act on grounds

generally applicable to the Class so as to justify certification pursuant to Rule 23(b)(2).

       13.      The Court should also find that the requirements to certify a Class pursuant to

23(b)(3) are satisfied as well because common questions of law and fact predominate and the

class action mechanism is superior to all other available methods of adjudication.

       14.      For the reasons stated above, the Court should certify the following Class:




                                                                                                     3
          Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 4 of 6



       All persons who (1) on or after four years prior to the filing of this action, (2)
       were sent, by Defendant or on Defendant’s behalf an unsolicited telephone
       facsimile message substantially similar to Exhibit A, (3) from whom Defendant
       claims it obtained prior express permission or invitation to send those faxes in the
       same manner as Defendant claims it obtained prior express consent to fax
       Plaintiff.

       15.     The Court should appoint Patrick Peluso as class counsel and Plaintiff Stone as

the class representative.

                                         Further Matters

       16.     Plaintiff also requests that the Court grant leave to conduct limited discovery

regarding damages and any other aspect of this motion that the Court deems inadequate.

Specifically, Plaintiff seeks leave to serve written discovery requests upon Defendant as well as

to serve third-party discovery in the form of subpoenas.

       17.     Finally, for the reasons set forth in this Motion and the accompanying

memorandum in support of, Plaintiff requests that the Court grant its Motion for Default

Judgment, Motion for Class Certification, and Motion for Leave to Conduct Limited Discovery.

       WHEREFORE, Plaintiff respectfully requests that the Court grant its Motion for Default

Judgment, Motion for Class Certification, Motion for Leave to Conduct Limited Discovery, and

grant such other relief as the Court deems necessary and just.

                                                     Respectfully,

Dated: November 2, 2018                              STONE & COMPANY, INC., individually,
                                                     and on behalf of all others similarly situated,

                                                     /s/ Patrick H. Peluso
                                                     One of Plaintiff’s Attorneys

                                                     Stuart C. Gaul, Jr.
                                                     Pa. I.D. No. 74529
                                                     Gaul Legal LLC
                                                     100 Ross Street, Suite 510
                                                     Pittsburgh, PA 15219



                                                                                                    4
Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 5 of 6



                                 412-261-5100 (P)
                                 412-261-5101 (F)
                                 stuart.gaul@gaul-legal.com

                                 Patrick H. Peluso
                                 ppeluso@woodrowpeluso.com*
                                 Woodrow & Peluso, LLC
                                 3900 East Mexico Ave., Suite 300
                                 Denver, Colorado 80210
                                 Telephone: (720) 213-0675
                                 Facsimile: (303) 927-0809

                                 Counsel for Plaintiff and the Putative Class

                                 *pro hac vice admission




                                                                                5
         Case 2:18-cv-01135-AJS Document 11 Filed 11/02/18 Page 6 of 6



                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the above titled

document was served upon counsel of record by filing such papers via the Court’s ECF system

on November 2, 2018.

                                                    /s/ Patrick H. Peluso




                                                                                              6
